               IN THE UNITED STATES DISTRICT COURT
          FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
                CRIMINAL CASE NO. 1:09-cr-00013-MR-8


UNITED STATES OF AMERICA,       )
                                )
                   Plaintiff,   )
                                )
         vs.                    )                     ORDER
                                )
KENNETH L. FOSTER,              )
                                )
                   Defendant.   )
_______________________________ )

       THIS MATTER comes before the Court upon the Defendant’s “Motion

for Judicial Notice” [Docs. 794, 795].

I.     PROCEDURAL BACKGROUND

       On February 17, 2009, the Defendant was charged, along with

numerous co-defendants and co-conspirators, with conspiracy to possess

with intent to distribute crack cocaine, in violation of 21 U.S.C. §§ 846 and

841, and using a communication facility to further a drug offense, in violation

of 21 U.S.C. § 843. [Doc. 12: Sealed Indictment]. The Defendant proceeded

to trial with two of his co-defendants and was found guilty on both counts.

[Doc. 347: Judgment]. This Court sentenced the Defendant to 360 months’

imprisonment on the conspiracy count and to 96 months’ imprisonment on

the communications count, with those sentences to run concurrently. [Id.].


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The Defendant’s conviction and sentence were affirmed on appeal. United

States v. Foster, 416 F. App’x 304, 306 (4th Cir.), cert. denied, 132 S.Ct. 218

(2011).

       The Defendant then filed a motion to vacate pursuant to 28 U.S.C. §

2255 [Doc. 689], which the Court denied and dismissed on October 28, 2013

[Doc. 721]. The Fourth Circuit Court of Appeals dismissed the Defendant’s

appeal and denied a certificate of appealability on May 2, 2014.                  United

States v. Foster, 570 F. App’x 322 (4th Cir. 2014).

       The Court received the present motions on November 30, 2015. In his

motions, the Defendant asserts that his co-defendant, Yvonne Marie

Fountain, had pleaded guilty to the conspiracy charge but yet was still

“allowed to be seated beside [him] during [his] trial as if she had never

[pleaded guilty].” [Doc. 794 at 1].1 The Defendant argues that Fountain’s

guilty plea was withheld from him until November 1, 2015, and that the

withholding of this information violated his due process rights and caused a

“structural error” in the trial proceedings. [Id.]. The Defendant asks the Court

to “take judicial notice of this structural error” and to “use its proper authority

to correct the stated structural error.” [Id. at 1-2].



1 The Defendant’s second motion, while handwritten, is virtually identical in substance to

the Defendant’s first, typewritten motion.

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II.     ANALYSIS

        The relief that the Defendant is seeking in his present motion is

identical to the relief he could obtain through a successful Section 2255

proceeding. Accordingly, the Court will treat his motions as one brought

pursuant to Section 2255. See Gonzalez v. Crosby, 545 U.S. 524, 531

(2005); United States v. Winestock, 340 F.3d 200, 207 (4th Cir. 2003) (“a

motion directly attacking the prisoner's conviction or sentence will usually

amount to a successive application”).

        A prisoner must obtain permission from the appropriate court of

appeals before he may file a second motion under § 2255. 28 U.S.C. §

2255(h). Because the Defendant has provided no evidence that he has

secured authorization from the Fourth Circuit to file a successive § 2255

motion, the Court concludes that it is without jurisdiction to consider the

merits of the present motions. The Defendant’s “Motions for Judicial Notice,”

therefore, will be dismissed.2


2 Even if the Defendant’s motions were not subject to dismissal as an unauthorized
successive petition, the Defendant’s motions would be denied for being substantively
meritless. While Defendant Fountain did in fact execute a plea agreement by which she
agreed to plead to the conspiracy charge [Doc. 250: Plea Agreement], she never entered
a guilty plea pursuant to that plea agreement. [See Minute Entry dated June 29, 2009].

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       Pursuant to Rule 11(a) of the Rules Governing Section 2255 Cases,

the Court declines to issue a certificate of appealability as the Defendant has

not made a substantial showing of a denial of a constitutional right. 28 U.S.C.

§ 2253(c)(2); Miller–El v. Cockrell, 537 U.S. 322, 336-38 (2003) (in order to

satisfy § 2253(c), a petitioner must demonstrate that reasonable jurists would

find the district court's assessment of the constitutional claims debatable or

wrong); Slack v. McDaniel, 529 U.S. 473, 484 (2000) (holding that when relief

is denied on procedural grounds, a petitioner must establish both that the

correctness of the dispositive procedural ruling is debatable, and that the

petition states a debatably valid claim of the denial of a constitutional right).

       IT IS, THEREFORE, ORDERED that the Defendant’s “Motions for

Judicial Notice” [Docs. 794, 795] is DISMISSED as an unauthorized,

successive Section 2255 motion.

       IT IS FURTHER ORDERED that pursuant to Rule 11(a) of the Rules

Governing Section 2255 Cases, the Court declines to issue a certificate of

appealability.




Fountain did not complete the Rule 11 hearing and instead elected instead to go to trial
along with two of her co-defendants (including Defendant Kenneth Foster), at which time
she was found guilty of the conspiracy charge by a jury. [Doc. 297: Jury Verdict].
Therefore, the Defendant’s contention that Fountain pleaded guilty prior to trial is simply
without merit.

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  IT IS SO ORDERED.         Signed: December 14, 2015




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